4:06-cr-03040-WKU-DLP           Doc # 102       Filed: 03/28/07      Page 1 of 1 - Page ID # 435



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           4:06CR3040
               Plaintiff,                         )
                                                  )           MEMORANDUM
       vs.                                        )           AND ORDER
                                                  )
NOE GUSTAVO CHAVEZ LOYA,                          )
                                                  )
               Defendant.                         )
        The Court has been advised that the defendant requests permission to enter a plea of
guilty. The Court is further advised that the defendant will consent to Judge Piester conducting the
hearing on the plea of guilty.

       IT IS ORDERED that:


       1.      This case, insofar as it concerns this defendant, is removed from the trial docket
               based upon the oral motion of the defendant that is granted.

       2.      A hearing on the defendant’s anticipated plea of guilty is scheduled before
               Magistrate Judge Piester on the 2nd day of April, 2007 at the hour of 11:15 a.m.

       3.      On or before the date for the plea proceeding, counsel for plaintiff and for defendant
               shall provide to the assigned probation officer their respective versions of the
               offense for purposes of preparing the presentence investigation report.

       4.      The ends of justice will be served by granting such a motion, and outweigh the
               interests of the public and the defendant in a speedy trial, and the additional time
               arising as a result of the granting of the motion, the time between today’s date and
               the anticipated plea of guilty, shall be deemed excludable time in any computation
               of time under the requirements of the Speedy Trial Act, for the reason that
               defendant’s counsel requires additional time to adequately prepare the case, taking
               into consideration due diligence of counsel, the novelty and complexity of the case,
               and the fact that the failure to grant additional time might result in a miscarriage of
               justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       5.      Defendant shall be present for this hearing.

       Dated March 28, 2007.
                                                      BY THE COURT:
                                                      s/ David L. Piester
                                                      ______________________________
                                                      United States Magistrate Judge
